                       IN THE UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF TENNESSEE
                                NASHVILLE DIVISION

 BRINAL KAUL, Individually and on behalf of         Case No:
 all others similarly situated,
                                                    CLASS ACTION COMPLAINT FOR
        Plaintiff,                                  VIOLATIONS OF THE FEDERAL
                                                    SECURITIES LAWS
        v.
                                                    JURY TRIAL DEMANDED
 CLOVER HEALTH INVESTMENTS, CORP.
 f/k/a SOCIAL CAPITAL HEDOSOPHIA
 HOLDINGS CORP. III, VIVEK GARIPALLI,
 JOSEPH WAGNER, CHAMATH
 PALIHAPITIYA, STEVEN TRIEU, IAN
 OSBORNE, JACQUELINE D. RESES, and
 JAMES RYANS,

        Defendants.


       Plaintiff Brinal Kaul (“Plaintiff”), individually and on behalf of all other persons

similarly situated, by Plaintiff’s undersigned attorneys, for Plaintiff’s complaint against

Defendants (defined below), alleges the following based upon personal knowledge as to

Plaintiff and Plaintiff’s own acts, and information and belief as to all other matters, based upon,

inter alia, the investigation conducted by and through his attorneys, which included, among

other things, a review of the Defendants’ public documents, conference calls and

announcements made by Defendants, United States Securities and Exchange Commission

(“SEC”) filings, wire and press releases published by and regarding Clover Health Investments,

Corp. (“Clover” or the “Company”) f/k/a Social Capital Hedosophia Holdings Corp. III, and

information readily obtainable on the Internet. Plaintiff believes that substantial evidentiary

support will exist for the allegations set forth herein after a reasonable opportunity for

discovery.


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                                  NATURE OF THE ACTION

          1.   This is a class action on behalf of persons or entities who: (1) purchased or

otherwise acquired publicly traded Clover securities between October 6, 2020 and February 4,

2021, inclusive (the “Class Period”), seeking to recover compensable damages caused by

Defendants’ violations of the federal securities laws under the Securities Exchange Act of 1934

(the “Exchange Act”); and/or (2) purchased or otherwise acquired Clover securities pursuant or

traceable to the Company’s registration statement and prospectus issued in connection with the

December 2020 Merger, seeking to pursue remedies under Sections 11 and 15 of the Securities

Act of 1933 (the “Securities Act”).

                                 JURISDICTION AND VENUE

          2.   The claims asserted herein arise under and pursuant to Sections 10(b) and 20(a)

of the Exchange Act (15 U.S.C. §§78j(b) and 78t(a)) and Rule 10b-5 promulgated thereunder by

the SEC (17 C.F.R. §240.10b-5) and Sections 11 and 15 of the Securities Act (15 U.S.C. §§ 77k

and 77o).

          3.   This Court has jurisdiction over the subject matter of this action pursuant to 28

U.S.C. § 1331, §22 of the Securities Act, and Section 27 of the Exchange Act (15 U.S.C.

§78aa).

          4.   Venue is proper in this judicial district pursuant to 28 U.S.C. §1391(b), §22 of

the Securities Act, and Section 27 of the Exchange Act (15 U.S.C. §78aa(c)) as the Company is

headquartered in this judicial district, and the alleged misstatements entered and the subsequent

damages took place in this judicial district.

          5.   In connection with the acts, conduct and other wrongs alleged in this complaint,

Defendants, directly or indirectly, used the means and instrumentalities of interstate commerce,



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including but not limited to, the United States mails, interstate telephone communications and

the facilities of the national securities exchange.

                                              PARTIES

       6.      Plaintiff, as set forth in the accompanying certification, incorporated by reference

herein, purchased or otherwise acquired Clover securities during the Class Period and/or

purchased or otherwise acquired Clover securities pursuant or traceable to the Company’s

registration statement and prospectus issued in connection with the December 2020 Merger and

was economically damaged thereby.

       7.      Defendant Clover purports to provide health insurance services. Clover is

incorporated in Delaware with headquarters at 725 Cool Springs Boulevard, Suite 320, Franklin,

Tennessee. Clover was taken public through a reverse merger with Social Capital Hedosophia

Holdings Corp. III (“IPOC”), a Special Purpose Acquisition Company (the “Business

Combination”). Prior to the Business Combination, IPOC traded on the New York Stock

Exchange (“NYSE”) under the ticker “IPOC.” On January 8, 2021, Clover’s common shares

began trading on the NASDAQ under the ticker symbol “CLOV,” closing at $15.90 per share,

and on January 11, Clover’s redeemable warrants began trading on the NASDAQ under the

ticker symbol “CLOVW,” closing at $3.36 per warrant.

       8.      Defendant Vivek Garipalli (“Garipalli”) co-founded the Company, and has

served as the Company’s Chief Executive Officer (“CEO”) and Chairman of the Board of

Directors throughout the Class Period.

       9.      Defendant Joseph Wagner (“Wagner”) has served as the Company’s Chief

Financial Officer (“CFO”) throughout the Class Period.




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       10.    Defendants Garipalli and Wagner are collectively referred to herein as the

“Clover Individual Defendants.”

       11.    Each of the Clover Individual Defendants:

              (a)     directly participated in the management of the Company;

              (b)     was directly involved in the day-to-day operations of the Company at the

                      highest levels;

              (c)     was privy to confidential proprietary information concerning the

                      Company and its business and operations;

              (d)     was directly or indirectly involved in drafting, producing, reviewing

                      and/or disseminating the false and misleading statements and information

                      alleged herein;

              (e)     was directly or indirectly involved in the oversight or implementation of

                      the Company’s internal controls;

              (f)     was aware of or recklessly disregarded the fact that the false and

                      misleading statements were being issued concerning the Company;

                      and/or

              (g)     approved or ratified these statements in violation of the federal securities

                      laws.

       12.    Clover is liable for the acts of the Clover Individual Defendants and its

employees under the doctrine of respondeat superior and common law principles of agency

because all of the wrongful acts complained of herein were carried out within the scope of their

employment.




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       13.    The scienter of the Clover Individual Defendants and other employees and agents

of the Company is similarly imputed to Clover under respondeat superior and agency

principles.

       14.    Defendant Chamath Palihapitiya (“Palihapitiya”) was, at all relevant times,

President, Chief Executive Officer, Chairman of the Board of IPOC. Palihapitiya signed or

authorized the signing of the Registration Statement and Proxy Statement.

       15.    Defendant Steven Trieu (“Trieu”) was, at all relevant times, CFO of IPOC. Trieu

signed or authorized the signing of the Registration Statement and Proxy Statement.

       16.    Defendant Ian Osborne (“Osborne”) was, at all relevant times, President and

Director of IPOC. Osborne signed or authorized the signing of the Registration Statement and

Proxy Statement.

       17.    Defendant Jacqueline D. Reses (“Reses”) was, at all relevant times, a Director of

IPOC. Reses signed or authorized the signing of the Registration Statement and Proxy

Statement.

       18.    Defendant James Ryans (“Ryans”) was, at all relevant times, a Director of IPOC.

Ryans signed or authorized the signing of the Registration Statement and Proxy Statement.

       19.    Defendants Palihapitiya, Trieu, Reses, and Ryans (collectively, the “IPOC

Director Defendants”), participated in Board meetings and conference calls, voted to approve

the merger, signed and/or authorized the signing of the Registration Statement, Proxy, approved

the Proxy, solicited approval of the Merger through the Board’s recommendation that IPOC

shareholders vote in favor the merger with Clover, which appeared in the Proxy, and permitted

the use of their names in connection with the solicitation of proxies from the shareholders. In

their capacities as signatories of documents set forth below, as well as by virtue of their



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authority to approve the Merger, the IPOC Director Defendants possessed the power and

authority to control the contents of the Registration Statement, Proxy/Prospectus, as well as

IPOC’s and the Company’s press releases, investor and media presentations, and other SEC

filings.

           20.    Defendants Clover, the Clover Individual Defendants, and the IPOC Director

Defendants are collectively referred to herein as “Defendants.”

                                  SUBSTANTIVE ALLEGATIONS
                                  Materially False and Misleading
                             Statements Issued During the Class Period
           21.    On October 6, 2020, Clover issued a press release announcing its intention to

become a public company through a merger with IPOC. The press release stated, in pertinent

part, the following concerning the Clover Assistant, Clover’s platform:

           Clover’s flagship platform, the Clover Assistant, aggregates millions of relevant
           health data points – including claims, medical charts and diagnostics, among
           others – and uses machine learning to synthesize that data with member-specific
           information. This provides physicians with actionable and personalized insights
           at the point of care, offering suggestions for medications and dosages as well as
           the need for tests or referrals, among others, to ultimately improve health
           outcomes.

           The Clover Assistant enables a virtuous growth cycle, whereby improved health
           outcomes lead to superior economics that the Company shares with members
           through lower costs and rich benefits. In turn, the Company believes its best-in-
           class plans will continue to deliver market-leading growth, allowing the Clover
           Assistant to capture and synthesize more data and ultimately drive better care.

           Medicare Advantage is one of the largest and fastest growing markets in the U.S.
           healthcare system – but it is one that has seen little innovation and remains ripe
           for disruption. Worth $270 billion today and with an estimated value of $590
           billion by 2025, the Medicare Advantage market provides a tremendous
           opportunity for growth.

           Today, Clover is the fastest growing Medicare Advantage insurer in the United
           States – among insurers with more than 50,000 members – and serves more than
           57,000 members in 34 counties across 7 states. Spurred by favorable
           demographic tailwinds and its differentiated, technology-driven approach,


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       Clover has captured an average of 50 percent of the net increase in membership
       across its established markets over the last three years. Further, the Company’s
       software-centric approach enables efficient expansion into new markets,
       including to historically underserved and rural communities. The Company plans
       to expand into an additional 74 counties and eighth state next year and recently
       announced a new partnership with Walmart to make joint Clover-Walmart plans
       available to half a million Medicare-eligibles in eight Georgia counties.


       22.     That same day, in an interview discussing the Business Combination, Defendant

Palihapitiya stated that Clover “create[s] transparency. They don’t play games. They don’t

motivate doctors to upcode or do all kinds of things in order to get paid.”

       23.     On October 20, 2020, the Company filed its registration statement and

preliminary proxy statement/prospectus on Form S-4 with the SEC (the “Registration

Statement”). The Registration Statement was amended on December 9, 2020 and December 10,

2020, and was declared effective on December 11, 2020.

       24.     The Registration Statement touted the Company’s growth as strong and organic,

stating, for example:


        We drive strong, industry-leading organic membership growth, as compared to
        other MA plans with over 50,000 members, as consumers select our “Obvious”
        plans and receive care from physicians on the Clover Assistant, generating
        broader usage of the platform and thus restarting the cycle.

                                          *      *       *

        As a result of our “Obvious” plans, we have achieved significant organic
        membership growth. Our membership has expanded from 30,677 as of
        January 1, 2018, to 57,503 as of September 30, 2020, representing 25% share of
        the individual, non-SNP MA market in our established markets, which we define
        as markets where an insurer has over 500 members as of the end of the prior
        year. This expansion has largely been driven by our nation-leading established
        market take rate, which has averaged more than 50% over the past three years
        across a group of counties in New Jersey that grew from eight to 13 over the
        period.

                                          *      *       *

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        We’ve already seen a glimpse of what’s possible. Clover currently offers
        Medicare Advantage plans in 7 states and 34 markets. Our “obvious” plans are
        among the most affordable in their markets. They generally offer the widest
        physician networks. As a result, they benefit from industry-leading organic
        growth, with a 38% annual growth rate compared to an 8% industry average.

       25.    The Registration Statement and proxy/prospectus stated the following concerning

the Clover Assistant’s usage by doctors:

        The Clover Assistant delights and engages physicians. We are focused on
        empowering and delighting physicians that use our platform. Physicians are
        highly satisfied with the Clover Assistant platform, as evidenced by our
        platform’s positive NPS of 64 for the three months ended June 30, 2020. The
        Clover Assistant’s NPS is comparable to those of leading consumer technology
        platforms, such as Netflix and Amazon, and stands in stark contrast to the
        average negative NPS of -44 of legacy medical record software products,
        including EHRs such as athenahealth, Epic and NextGen. Onboarded physicians
        are highly engaged, using the Clover Assistant for 92% of their member visits in
        2019.

       26.    The Registration Statement and proxy/prospectus frequently touted the

Company’s plans as “best-in-class,” stating, for example:

        The SCH board of directors believes that Clover provides a fundamentally
        different approach to insurance, offering highly affordable, best-in-class plans
        that combine wide access to healthcare and supplemental benefits with low out-
        of-pocket expenses. Clover designs its plans to provide the access of a PPO at
        lower than HMO costs. Most of its members are enrolled in plans that offer the
        lowest average out-of-pocket costs for PCP co-pays, specialist co-pays, drug
        deductibles and drug costs in their markets while also providing peace of mind
        with wide network access and with the same in-and out-of-network costs for
        physician visits. For example, based on a company analysis that assumes a
        lifetime of seven years on Medicare, Clover estimates that its highest enrolled
        plan offers a 17% average lifetime cost savings compared to the highest enrolled
        MA competitor plan in Clover’s five largest markets. Likewise, based on a
        similar company analysis, Clover estimates that its highest enrolled plan offers a
        41% average lifetime cost savings compared to Original Medicare, taking into
        account the Kaiser Family Foundation’s reported average Original Medicare
        enrollee’s out-of-pocket spending on medical and long-term care services in
        2016. The SCH board of directors believes that Clover’s best-in-class plans will
        continue to deliver market-leading growth, allowing Clover Assistant to capture
        and synthesize more data and ultimately drive better care.




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       27.     The Registration Statement only stated the concerning the Company’s risk of

litigation or regulatory investigation with respect to its marketing practices:

        From time to time we are and may be subject to legal proceedings and claims
        that arise in the ordinary course of business, such as claims brought by providers,
        facilities, consultants, and vendors in connection with commercial disputes, or
        employment claims made by our current or former associates. In addition, from
        time to time, we are and may be subject to regular and special governmental
        market conduct and other audits, investigations and reviews by, and we receive
        and may receive subpoenas and other requests for information from, various
        federal and state agencies, regulatory authorities, attorneys general, committees,
        subcommittees and members of the U.S. Congress and other state, federal and
        international governmental authorities. In the United States, federal and state
        governments have made investigating and prosecuting health care and other
        insurance fraud, waste, and abuse a priority. Fraud, waste, and abuse prohibitions
        encompass a wide range of activities, including kickbacks for referral of
        members, fraudulent coding practices, billing for unnecessary medical and/or
        other covered services, improper marketing and violations of patient privacy
        rights. The U.S. Department of Justice (“DOJ”) and the Department of Health
        and Human Services Office of Inspector General (the “OIG”), have recently
        increased their scrutiny of healthcare payers and providers, and Medicare
        Advantage insurers, under the federal False Claims Act (the “FCA”), in
        particular, and there have been a number of investigations, prosecutions,
        convictions and settlements in the healthcare industry. CMS and the OIG also
        periodically perform risk adjustment data validation (“RADV”) audits of
        selected Medicare Advantage health plans to validate the coding practices of and
        supporting documentation maintained by health care providers. Certain of our
        plans have been selected for such audits, which have in the past resulted and
        could in the future result in retrospective adjustments to payments made to our
        health plans, fines, corrective action plans or other adverse action by CMS.

                                           *      *       *

        There has been increased government scrutiny and litigation involving MA plans
        under the FCA related to diagnosis coding and risk adjustment practices. In some
        proceedings involving MA plans, there have been allegations that certain
        financial arrangements with providers violate other laws governing fraud and
        abuse, such as the Anti-Kickback Statute. We perform ongoing monitoring of
        our compliance with CMS risk adjustment requirements and applicable laws,
        which includes review of the Clover Assistant features that may be relevant to
        patient risk assessments and the submission of risk adjustment data to CMS. We
        also monitor our physician payment practices to ensure compliance with
        applicable laws, such as the Anti-Kickback Statute. While we believe that our
        risk adjustment data collection efforts and relationships with providers, including
        those related to the Clover Assistant, comply with applicable laws, we are and
        may be subject to audits, reviews and investigation of our practices and

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   arrangements, and the federal government might conclude that they violate the
   FCA, the Anti-Kickback Statute and/or other federal and state laws governing
   fraud and abuse. See the section entitled “Risk factors—Risks Related to
   Governmental Regulation—Our business activities are highly regulated and new
   and proposed government regulation or legislative reforms could increase our
   cost of doing business and reduce our membership, profitability and liquidity.”

                                    *     *       *

   As an institution that contracts with the federal government, we are subject to
   federal laws and regulations relating to the award, administration and
   performance of U.S. government contracts, including laws aimed at preventing
   fraud, waste and abuse. Fraud, waste and abuse prohibitions encompass a wide
   range of activities, including kickbacks or other inducements for referral of
   members or for the coverage of products by a plan, billing for unnecessary
   medical services by a healthcare provider, improper marketing and beneficiary
   inducements, and violations of patient privacy rights. Companies involved in
   federal and state health care programs such as Medicare are required to maintain
   compliance programs to detect and deter fraud, waste and abuse, and are often
   the subject of fraud, waste and abuse investigations and audits. The regulations
   and contractual requirements applicable to us and other participants in these
   programs are complex and subject to change. Although our compliance program
   is designed to meet all statutory and regulatory requirements, our policies and
   procedures are frequently under review and subject to updates, and our training
   and education programs continue to evolve.

   The federal Anti-Kickback Statute and related regulations have been interpreted
   to prohibit the knowing and willful payment, solicitation, offering or receipt of
   any form of remuneration (including kickbacks, bribes and rebates) in return for
   the referral of federal healthcare program patients or any item or service that is
   reimbursed, in whole or in part, by any federal healthcare program. A person or
   entity does not need to have actual knowledge of the statute or specific intent to
   violate it to have committed a violation. In some of our markets, states have
   adopted similar anti-kickback provisions, which apply regardless of the source of
   reimbursement. We have attempted to structure our relationships with providers
   and other entities to ensure compliance with the Anti-Kickback Statute and
   relevant safe harbors. It is, however, possible that regulatory authorities may
   challenge our approach to provider contracting and incentives, or other
   operations, and there can be no assurance that authorities will determine that our
   arrangements do not violate the federal Anti-Kickback Statute. Penalties for
   violations of the federal Anti-Kickback Statute include criminal penalties and
   civil sanctions, including fines, imprisonment and possible exclusion from
   Medicare, Medicaid and other federal healthcare programs.

   We are subject to federal and state laws and regulations that apply to the
   submission of information and claims to various government agencies. For
   example, the False Claims Act (“FCA”), provides, in part, that the federal

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        government may bring a lawsuit against any person or entity who the
        government believes has knowingly presented, or caused to be presented, a false
        or fraudulent request for payment from the federal government, or who has made
        a false statement or used a false record to get a claim approved. There also is
        FCA liability for knowingly or improperly avoiding repayment of an
        overpayment received from the government and/or failing to promptly report and
        return any such overpayment. The federal government, whistleblowers and some
        courts have taken the position that claims presented in violation of other statutes,
        for example, where a claim includes items or services resulting from a violation
        of the federal Anti-Kickback Statute, may be considered a violation of the FCA.
        Violations of the FCA are punishable by treble damages and civil monetary
        penalties of up to a specified dollar amount per false claim. In addition, a special
        provision under the FCA allows a private person (for example, a
        “whistleblower,” such as a disgruntled current or former competitor, member, or
        employee) to bring an action under the FCA on behalf of the government
        alleging that a company has defrauded the federal government and permits the
        private person to share in any settlement of, or judgment entered in, the lawsuit.
        A number of states, including states in which we operate, have adopted their own
        false claims acts and whistleblower provisions that are similar to the FCA.
        Companies in the health and related benefits industry, including ours, frequently
        are subject to actions brought under the FCA or similar state laws.

       28.     The Registration Statement stated the following concerning the Company’s sales

and marketing practices:

        We market our “Obvious” plans through direct marketing activities and an
        extensive network of insurance brokers and field marketing organizations. We
        also enter into co-branding arrangements with physicians and other provider
        institutions. We market or may market our plans through a number of channels
        including, but not limited to, direct mail, marketing materials in provider’s
        offices, the Internet, telesales and free marketing channels provided by the U.S.
        government, such as the Medicare Plan Finder. Commissions paid to employed
        sales representatives and independent brokers and agents are based on a per unit
        commission structure, regulated in structure and amount by CMS.

       29.     The Registration Statement stated the following concerning the Company’s risk

adjustment model, in pertinent part:

        When individuals become eligible for Medicare coverage, they may elect to
        enroll directly with the federal government in what is commonly referred to as
        “Original Medicare,” under which they are generally required to pay premiums
        to the U.S. government and out-of-pocket deductibles and coinsurance to
        providers. Alternatively, eligible consumers may elect each year to enroll in
        Medicare Advantage in markets where it is available. Under MA, consumers can
        shop annually and choose a private company to coordinate their health plan

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        benefits and care on behalf of the U.S. government. This model is consumer-
        friendly with low switching costs for members to choose the plan that suits their
        needs. In both Original Medicare and MA, the U.S. government is the ultimate
        insurer and pays for the cost of care. In MA, the U.S. government, through CMS,
        pays MA plans on a per member per month basis, which gives high visibility
        with respect to recurring revenue, making these plans similar to other
        subscription-based models. CMS also adjusts payments based on its risk
        adjustment model, which compensates plans for the health risk profile of their
        members, resulting in higher payments for sicker members who generally require
        more care, and provides the opportunity for sustainable plan economics
        regardless of a plan’s member mix. The consumer-oriented nature and
        predictable payment model feature have resulted in the MA program achieving
        rapid adoption.

       30.     On December 11, 2020, the Company filed a proxy statement/prospectus for the

purpose of soliciting approval of the merger at a meeting to be held on January 6, 2021. The

proxy statement/prospectus made substantially similar statements as the Registration Statement.

       31.     The statements contained in ¶¶21-30 were materially false and/or misleading

because they misrepresented and failed to disclose the following adverse facts pertaining to the

Company’s business, operations and prospects, which were known to Defendants or recklessly

disregarded by them. Specifically, Defendants made false and/or misleading statements and/or

failed to disclose that: (1) Clover’s was under active investigation by the Department of Justice

for at least 12 issues ranging from kickbacks to marketing practices to undisclosed third-party

deals; (2) the DOJ’s investigation presented an existential risk to the Company, since it derives

most of its revenues from Medicare; (3) Clover’s sales were driven by a major undisclosed

related party deal and misleading marketing targeting the elderly, not its purported “best-in-

class” technology; (4) a significant portion of Clover sales were by way of an undisclosed

relationship between Clover and an outside brokerage firm controlled by Clover’s Head of

Sales; and (5) as a result, Defendants’ statements about its business, operations, and prospects,

were materially false and misleading and/or lacked a reasonable basis at all relevant times.



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                             THE TRUTH BEGINS TO EMERGE

       32.      On February 4, 2021, before market hours, Hindenburg Research published a

research report that revealed that Clover’s flagship platform, Clover Assistant, was the subject

of a DOJ investigation for a variety of issues, including illegal kickbacks, marketing practices,

and undisclosed related-party transactions.

       33.     Hindenburg discovered that Clover’s sales growth was not driven by technology,

but by deceptive sales practices, stating, in pertinent part, the following:

       Based on conversations with former employees and a review of corporate and
       insurance filings, we found that Clover’s membership growth looks to be driven
       not by technology, but rather by deceptive sales practices, including:

   1. A wholly owned Clover subsidiary that misleadingly markets itself as providing
      “independent” and “unbiased” advice to seniors looking for Medicare; and
   2. Large, undisclosed related-party transactions with a brokerage entity controlled by
      Clover’s Head of Sales.

       As one former employee told us:

       “The technology wasn’t any different. The plan design really wasn’t any different
       aside from it undercut the competition. But the first couple of years in network, it
       wasn’t even that great. They didn’t have all the hospitals in network. So, it had to
       have come from the sales strategy for their success to have grown organically
       the way it did.”

       Not surprisingly, the DOJ subpoena lists numerous issues related to Clover’s member
       recruitment practices.




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       34.       The report also revealed that Clover’s subsidiary, Seek Insurances Services, Inc.,

was representing that it was an “unbiased” and “independent” source of information that helped

seniors select Medicare plans, despite being wholly-owned by Clover, and having the same

Head of Sales:


       Seek Insurance Services, Inc. is a subsidiary of Clover, per Clover’s SEC filing
       exhibit listing its subsidiaries.

       [image omitted]

       And Seek Insurance Services, Inc. is listed as the owner and operator of a website
       called SeekMedicare.com, which advises seniors on which Medicare insurance
       plans to choose.

       [image omitted].



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   (Source: Seek Medicare)

  Given that the stated purpose of Seek’s website is to help seniors pick Medicare
  insurance plans, we would expect it to disclose that it is actually owned by
  insurance company Clover, posing a major conflict of interest.

  Yet Clover wasn’t mentioned anywhere on Seek’s website, per our review. On the
  contrary, Seek misleads its elderly audience by saying the exact opposite.

  On one part of its website, superimposed over an image of a senior citizen, Seek
  explains how it offers totally unbiased advice:

  [image omitted].

   (Source: Seek Medicare home page)

  Seek further markets itself as providing “independent advice that puts your well-
  being above all else”.

  [image omitted]

   (Source: Seek Insurance “About” page)

  Seek also insists that it doesn’t care which insurance company plan seniors end up
  picking:

  [image omitted]

   (Source: Seek’s “contact us” webpage)

  Seek’s website even has a blog post explaining how other brokers often have a
  bias to steer clients toward a plan that best serves their own financial interests.
  The post is titled “SeekMedicare is different” and repeatedly declares Seek’s
  neutrality:

  [image omitted]

   (Source: Seek Blog Post)

  Seek Medicare Website: “We Don’t Work for Insurance Companies. We Work
  For You”

  Reality: Seek Is Literally Owned By Clover Health, An Insurance Company

  On one part of Seek’s website, it explicitly claims that it doesn’t work for an
  insurance company at all:

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        [image omitted]

        (Source:          Seek           Insurance            “About”           Page.)
        (Note: Seek Insurance works for, and is literally owned by, insurance company
        Clover Health)

        Seek’s website doesn’t list its executive team. But in case there is any doubt that
        Seek is an extension of Clover’s sales operation, Florida corporate records show
        that Seek’s Chief Sales Officer is Hiram Bermudez, who concurrently serves as
        Clover’s Head of Sales, per his LinkedIn profile.

        Seek’s website doesn’t list an address, but New Jersey corporate documents show
        its address matches Clover’s New Jersey office address: 30 Montgomery Street,
        Jersey City, NJ, 15th Floor.



        35.    The report also alleged that Clover’s sales were primarily fueled by an

undisclosed relationship between Clover and an outside brokerage controlled by Clover’s head

of sales:


        Several former employees, a local competitor, and an independent broker told us
        that Bermudez oversaw the company’s aggressive expansion across New Jersey.
        One former employee estimated that Bermudez was responsible for at least 70%
        of the sales in the state, representing ~68% of Clover’s total sales.

        Bermudez’s LinkedIn profile shows that prior to joining Clover in 2012, he
        worked at brokerage firm B&H Assurance, where he held the title of VP of Sales
        Operations. The profile indicates he left the role in 2012 upon joining Clover.

        The most recent New Jersey corporate records, dated November 20th, 2020,
        indicate that Bermudez is not only still active with B&H, but is listed as the sole
        agent of the firm, as well as one of two principals.

        B&H, which stands for Bermudez & Henson, operates what is known as a Field
        Marketing Organization, or an “FMO”. FMOs act as a middleman between
        insurance companies and brokers, negotiating sales deals with the insurance
        companies that a network of agents can then offer and sell to customers.

        As one former employee explained, Bermudez never left B&H, and instead was
        brought on specifically to use his brokerage business to grow Clover’s sales.




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  “He was brought into Clover since early on, like day one, and because he had
  such a large ground force of sales agents he was key and instrumental in getting
  Clover started.”

  “He’s got both feet in those waters; one is he’s head of sales at Clover and the
  other one is he owns and manages this massive sales market foundation in the
  Northeast under his FMO.”

  A review of the B&H website shows that it is partners with Clover, yet we see
  zero disclosure that its key principal holds a concurrent senior role at the
  insurance company. One might expect this to be the type of conflict of interest
  that seniors purchasing Medicare would be interested to know.

                                   *       *      *

  Despite B&H clearly doing business with Clover, we saw no mention of the
  apparently significant related-party transactions in Clover’s SEC filings, including
  in its go-public prospectus.

                                   *       *      *

  When we spoke to a former employee about B&H’s relationship with Clover, we
  were told that Bermudez had taken steps to conceal the relationship in the run-up
  to the go-public transaction due to “compliance reasons”:

  “He just had to hand his business over to a partner, then he’d removed his name
  on it for compliance reasons.”

  “His wife is listed as the co-partner with his business partner. He had to get his
  name off of it, but you know like there’s gonna be a check from Clover going to
  that business every year. It’s gonna be a large amount—he makes good money at
  Clover. He makes the majority of money from the sales that his business makes
  from Clover.”

  We reviewed records from the National Association of Insurance Commissioners
  (“NAIC”). On the NAIC page for B&H Assurance, the entity listed its formal
  relationships (i.e., appointments) with most major insurance companies in New
  Jersey, 17 in all.

  Clover was noticeably absent from the list (despite clearly appearing as a partner
  on the B&H website, as shown above.)

                                   *       *      *

  On Bermudez’s wife’s NAIC profile, we see that she has a formal relationship
  with only one insurance company: Clover Health.

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                                        *      *       *

       In short, Clover’s Head of Sales appears to operate a large, separate insurance
       brokerage firm that does significant undisclosed business with Clover, through his
       wife’s name. Clover then claims in the very first pages of its go-public prospectus
       to be generating its business organically due to its amazing software. [Pg. 1-2]

       36.     The report provided evidence that Clover was engaging in other unscrupulous

sales practices, including handing out gift cards to generate patient leads and paying staff at

physician’s offices for referrals.

       37.     The report alleged that Clover was exposed to significant risk because its

software product was designed to encourage “upcoding,” or making patients seem sicker than

they truly are in order to secure a higher coverage reimbursement from Medicare Advantage:


       But upcoding happens to be a key issue that has drawn the attention of the
       Department of Justice, according to a former employee we interviewed, who
       provided a copy of the Civil Investigative Demand.

       The former employee said they were questioned about “this tool (Clover
       Assistant) and its practice of promoting higher level coding by the physician so
       that way the insurance can bill CMS.”

                                        *      *       *

       Our research indicates once again that the DOJ probe is likely onto something.

       While Clover claims its software tool, Clover Assistant, is aimed at helping
       doctors improve patient care, former employees told us that it was first and
       foremost a coding tool. According to one former employee:

       “The core feature of the platform is it increases revenue by identifying chronic
       conditions that people have and CMS will pay that…That’s the core business
       proposition.”

       They further explained how it works:

       “What it’s doing is saying we have your claims and in your claims at some point
       some doctor diagnosed your hypertension. The doctor that’s sitting in front of you
       right now, we want them to say that you have hypertension. The doctor can say


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  ‘yes’ or ‘no’ based on their findings. But it’s a sort of a nudge to the doctor to
  identify these potential chronic conditions you have.”

  Per another former employee we interviewed:

  “If you make this patient look really, really sick, you are going to get more money
  from the government…I think the government may say it’s not bad if a patient
  really is that sick. It gets dicey when you have a program that you are paying
  doctors straight up crazy amount of money to log in to and do this for you.”

  As we will detail later, Clover pays providers $200 per visit to use the Clover
  Assistant. One former employee explained how the payment is essentially an
  investment for Clover, given the potential to increase diagnosis codes and earn
  higher reimbursement:

  “If you are paying doctors $200 for a click but you are able to increase the
  severity of patients that you’ve diagnosed, it’s worth it because you are drawing
  down thousands of dollars (from Medicare) for a couple of clicks. To me that’s
  why they have this.”

                                   *       *      *

  Clover’s drive to capture every possible diagnosis has, predictably, led to messy
  results.

  Note that capturing relevant prior diagnoses is a perfectly acceptable practice. But
  according to doctors we interviewed, Clover Assistant retains old and often
  irrelevant diagnoses, ultimately leading to wasted Medicare dollars.

  Per one doctor who works at a NJ practices that has dozens of doctors using the
  Clover Assistant:

  “[Clover] is like constantly throwing those codes back in our face for everything
  that’s ever come up when they are irrelevant now.”

  The doctor distinguished Clover from Athena, the electronic medical record
  (EMR) system used by the practice for its patients, which also prompts doctors to
  consider confirming diagnoses based on information gathered on the patient. The
  doctor described Clover as being much less precise:

  “They have all these ridiculous diagnoses in there that make no sense…Every
  single time I go in more than half the diagnosis aren’t right…Whereas with
  Athena, I would say you know 4%-5% of the time the diagnosis aren’t right.”

  Another doctor estimated that Clover Assistant’s patient records were inaccurate
  between 10% and 25% of the time, adding:

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       “Let’s say somebody came in with diabetes. They lost a bunch of weight. They
       exercise. They don’t have diabetes anymore. That diabetes is still on the record.”

       We asked why some of these cleared up/cured legacy issues continue to show up
       as diagnosis. The doctors explained that the software limits their ability to
       remove an inapplicable diagnosis and expressed some confusion why such an
       obvious feature hadn’t already been implemented:

       One doctor told us:

       “Your patients don’t necessarily fit into one of their boxes, but you have to click a
       box to get to the next screen.”

       The doctor added:

       “I can’t click past the screen. But maybe this (diagnosis) is no longer applicable
       for this patient… If there was just a spot to say this is no longer applicable,
       then I think the software would be improved instantaneously. And it is an
       easy thing.”

       [image omitted]

       Another doctor we spoke with described how the Clover Assistant did not allow
       her to remove a current COVID diagnosis for a patient who had recovered from
       the virus but was taking a long-term course of medication to prevent blood clots,
       which the patient had experienced when ill with COVID. The system had been
       incapable of specifying the difference between a previous and current diagnosis.

       “The menus are so unspecific that from what I checked, they could think that he
       currently has active COVID which he doesn’t have.”

       It is unclear whether the difficulty doctors were having with removing old
       irrelevant diagnoses was part of a strategy to increase risk assessment scores,
       clunky development, or both. From the perspective of CMS, the distinction may
       not matter. Illegitimate increases in a patient’s risk score can lead to penalties and
       regulatory sanctions. [Pg. 37]



       38.    The report also revealed that Clover paid physicians $200 per visit to use its

software, and that the software was “embarrassingly rudimentary.” Only a small percentage of

doctors that were “onboarded” were actually using the software, as the report explained:




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    Clover tells investors it has “built a broad base of engaged physicians” and that
    “onboarded PCPs (primary care physicians) used the CA (Clover Assistant) for
    92% of eligible visits in 2019.” [Pg. 14]

    This 92% figure appears to be a clever turn of phrase. Clover never defines
    “onboarded” in its prospectus. [Pg. 247] In the field, Clover designates some
    doctors as “Clover Preferred”, or “a primary care physician who has been
    recognized for their dedication to using the Clover Assistant tool.” Two former
    employees explained that only “Clover Preferred” doctors were using the Clover
    Assistant.

    But the proportion of “Clover Preferred” doctors is quite low. For example,
    according to Clover’s own database, only ~45% of all in-network doctors in a key
    New Jersey market, Passaic County, are defined as “Clover Preferred”.

    In another key market, Morris County, New Jersey, only ~25% of all in-network
    doctors are “Clover Preferred” providers.

    A former employee explained that Clover was able to enroll about 70% to 80% of
    all the primary care doctors in New Jersey into its network, but that didn’t
    translate into a high percentage of Clover Assistant users:

    “They had a good portion of doctors in the state but not a great portion of doctors
    were using it if they enrolled.”

    The acceptance rate drops dramatically outside of New Jersey, according to our
    review of Clover’s database.

   In El Paso, Texas, for example, the Clover directory lists 110 doctors in Clover’s
            network and only 8 that are identified as Clover Preferred doctors.
   For Tennessee, we found 220 primary care doctors in Clover’s network but none
            who identified as Clover Preferred providers.
   Arizona has 206 in-network providers but we found no Clover Preferred doctors.

    It seems Clover is using claims about a small subset of its network, “onboarded
    PCPs,” to give the impression of widespread acceptance of the Clover Assistant.

    We emailed the company asking for clarification on this “onboarded” metric and
    have not heard back as of this writing.




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       39.     On this news, Clover shares (CLOV) fell $1.72 per share, or 12.3%, to close at

$12.23 per share on February 4, 2021, and Clover warrants (CLOVW) fell $0.18 per warrant, or

5%, to close at $3.39 per warrant on February 4, 2021, damaging investors.

       40.     On February 5, 2021, before the market opened, the Company filed a Form 8-K

disclosing that the SEC was conducting an “investigation and requesting document and data

preservation for the period from January 1, 2020, to the present, relating to certain matters that

are referenced in the [Hindenburg Research report].”

       41.     On this news, Clover shares (CLOV) fell $0.53 per share, or 4.3% during

intraday trading on February 5, 2021, and Clover warrants (CLOVW) fell $0.28 per warrant, or

8.2% during intraday trading on February 5, 2021, further damaging investors.

       42.     As a result of Defendants’ wrongful acts and omissions, and the precipitous

decline in the market value of the Company’s securities, Plaintiff and other Class members have

suffered significant losses and damages.

                      PLAINTIFF’S CLASS ACTION ALLEGATIONS

       43.     Plaintiff brings this action as a class action pursuant to Federal Rule of Civil

Procedure 23(a) and (b)(3) on behalf of a class consisting of all persons other than defendants

who acquired Clover securities publicly traded on NYSE and NASDAQ during the Class Period

and/or pursuant to the Registration Statement issued in connection with the Business

Combination, and who were damaged thereby (the “Class”). Excluded from the Class are

Defendants, the officers and directors of Clover, members of the Individual Defendants’

immediate families and their legal representatives, heirs, successors or assigns and any entity in

which Officer or Director Defendants have or had a controlling interest.




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       44.     The members of the Class are so numerous that joinder of all members is

impracticable. Throughout the Class Period, Clover securities were actively traded on NYSE.

While the exact number of Class members is unknown to Plaintiff at this time and can be

ascertained only through appropriate discovery, Plaintiff believes that there are hundreds, if not

thousands of members in the proposed Class.

       45.     Plaintiff’s claims are typical of the claims of the members of the Class as all

members of the Class are similarly affected by defendants’ wrongful conduct in violation of

federal law that is complained of herein.

       46.     Plaintiff will fairly and adequately protect the interests of the members of the

Class and has retained counsel competent and experienced in class and securities litigation.

Plaintiff has no interests antagonistic to or in conflict with those of the Class.

       47.     Common questions of law and fact exist as to all members of the Class and

predominate over any questions solely affecting individual members of the Class. Among the

questions of law and fact common to the Class are:

              whether the Securities Act and Exchange Act were violated by Defendants’ acts

               as alleged herein;

              whether statements made by Defendants to the investing public during the Class

               Period misrepresented material facts about the financial condition and business

               Clover;

              whether Defendants’ public statements to the investing public during the Class

               Period omitted material facts necessary to make the statements made, in light of

               the circumstances under which they were made, not misleading;




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                 whether the Defendants caused Clover to issue false and misleading SEC filings

                  during the Class Period;

                 whether Defendants acted knowingly or recklessly in issuing false and

                  misleading SEC filings;

                 whether the prices of Clover securities during the Class Period were artificially

                  inflated because of the Defendants’ conduct complained of herein; and

                 whether the members of the Class have sustained damages and, if so, what is the

                  proper measure of damages.

        48.       A class action is superior to all other available methods for the fair and efficient

adjudication of this controversy since joinder of all members is impracticable. Furthermore, as

the damages suffered by individual Class members may be relatively small, the expense and

burden of individual litigation make it impossible for members of the Class to individually

redress the wrongs done to them. There will be no difficulty in the management of this action as

a class action.

        49.       Plaintiff will rely, in part, upon the presumption of reliance established by the

fraud-on-the-market doctrine in that:

                 Clover shares met the requirements for listing, and were listed and actively

                  traded on NYSE and NASDAQ, highly efficient and automated markets;

                 As a public issuer, Clover filed periodic public reports with the SEC and NYSE

                  and NASDAQ;

                 Clover regularly communicated with public investors via established market

                  communication mechanisms, including through the regular dissemination of

                  press releases via major newswire services and through other wide-ranging


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                 public disclosures, such as communications with the financial press and other

                 similar reporting services; and

                Clover was followed by a number of securities analysts employed by major

                 brokerage firms who wrote reports that were widely distributed and publicly

                 available.

         50.     Based on the foregoing, the market for Clover securities promptly digested

current information regarding Clover from all publicly available sources and reflected such

information in the prices of the shares, and Plaintiff and the members of the Class are entitled to

a presumption of reliance upon the integrity of the market.

         51.     Alternatively, Plaintiff and the members of the Class are entitled to the

presumption of reliance established by the Supreme Court in Affiliated Ute Citizens of the State

of Utah v. United States, 406 U.S. 128 (1972), as Defendants omitted material information in

their Class Period statements in violation of a duty to disclose such information as detailed

above.

                                             COUNT I
             For Violations of Section 10(b) And Rule 10b-5 Promulgated Thereunder
                                      Against All Defendants
         52.     Plaintiff repeats and realleges each and every allegation contained above as if
fully set forth herein.
         53.     This Count is asserted against Defendants is based upon Section 10(b) of the
Exchange Act, 15 U.S.C. § 78j(b), and Rule 10b-5 promulgated thereunder by the SEC.
         54.      During the Class Period, Defendants, individually and in concert, directly or

indirectly, disseminated or approved the false statements specified above, which they knew or

deliberately disregarded were misleading in that they contained misrepresentations and failed to




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disclose material facts necessary in order to make the statements made, in light of the

circumstances under which they were made, not misleading.

       55.        Defendants violated §10(b) of the 1934 Act and Rule 10b-5 in that they:

                        employed devices, schemes and artifices to defraud;

                        made untrue statements of material facts or omitted to state material facts

                         necessary in order to make the statements made, in light of the

                         circumstances under which they were made, not misleading; or

                        engaged in acts, practices and a course of business that operated as a fraud

                         or deceit upon plaintiff and others similarly situated in connection with

                         their purchases of Clover securities during the Class Period.

       56.        Defendants acted with scienter in that they knew that the public documents and

statements issued or disseminated in the name of Clover were materially false and misleading;

knew that such statements or documents would be issued or disseminated to the investing

public; and knowingly and substantially participated, or acquiesced in the issuance or

dissemination of such statements or documents as primary violations of the securities laws.

These defendants by virtue of their receipt of information reflecting the true facts of Clover,

their control over, and/or receipt and/or modification of Clover’s allegedly materially

misleading statements, and/or their associations with the Company which made them privy to

confidential proprietary information concerning Clover, participated in the fraudulent scheme

alleged herein.

       57.        Individual Defendants, who are the senior officers and/or directors of the

Company, had actual knowledge of the material omissions and/or the falsity of the material

statements set forth above, and intended to deceive Plaintiff and the other members of the Class,


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or, in the alternative, acted with reckless disregard for the truth when they failed to ascertain and

disclose the true facts in the statements made by them or other Clover personnel to members of

the investing public, including Plaintiff and the Class.

         58.   As a result of the foregoing, the market price of Clover securities was artificially

inflated during the Class Period. In ignorance of the falsity of Defendants’ statements, Plaintiff

and the other members of the Class relied on the statements described above and/or the integrity

of the market price of Clover securities during the Class Period in purchasing Clover securities

at prices that were artificially inflated as a result of Defendants’ false and misleading statements.

         59.   Had Plaintiff and the other members of the Class been aware that the market

price of Clover securities had been artificially and falsely inflated by Defendants’ misleading

statements and by the material adverse information which Defendants did not disclose, they

would not have purchased Clover securities at the artificially inflated prices that they did, or at

all.

         60.    As a result of the wrongful conduct alleged herein, Plaintiff and other members

of the Class have suffered damages in an amount to be established at trial.

         61.   By reason of the foregoing, Defendants have violated Section 10(b) of the 1934

Act and Rule 10b-5 promulgated thereunder and are liable to the plaintiff and the other members

of the Class for substantial damages which they suffered in connection with their purchase of

Clover securities during the Class Period.

                                           COUNT II
                        Violations of Section 20(a) of the Exchange Act
         Against the Clover Individual Defendants and the IPOC Director Defendants
         62.   Plaintiff repeats and realleges each and every allegation contained in the

foregoing paragraphs as if fully set forth herein.



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       63.     During the Class Period, the Clover Individual Defendants and the IPOC

Director Defendants (“Individual Defendants”) participated in the operation and management of

Clover, and conducted and participated, directly and indirectly, in the conduct of Clover’s

business affairs. Because of their senior positions, they knew the adverse non-public

information about Clover’s misstatement of revenue and profit and false financial statements.

       64.     As officers and/or directors of a publicly owned company, the Individual

Defendants had a duty to disseminate accurate and truthful information with respect to Clover’s

financial condition and results of operations, and to correct promptly any public statements

issued by Clover which had become materially false or misleading.

       65.      Because of their positions of control and authority as senior officers, the

Individual Defendants were able to, and did, control the contents of the various reports, press

releases and public filings which Clover disseminated in the marketplace during the Class

Period concerning Clover’s results of operations. Throughout the Class Period, the Individual

Defendants exercised their power and authority to cause Clover to engage in the wrongful acts

complained of herein. The Individual Defendants therefore, were “controlling persons” of

Clover within the meaning of Section 20(a) of the Exchange Act. In this capacity, they

participated in the unlawful conduct alleged which artificially inflated the market price of

Clover securities.

       66.     By reason of the above conduct, the Individual Defendants are liable pursuant to

Section 20(a) of the Exchange Act for the violations committed by Clover.

                                          COUNT V
                         Violation of Section 11 of the Securities Act
                                   Against All Defendants

       67.     Plaintiffs repeat and re-allege each and every allegation contained above.



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        68.       This Count is brought pursuant to Section 11 of the Securities Act, 15 U.S.C.

§77k, on behalf of the Class, against Clover, the Clover Individual Defendants, and the IPOC

Director Defendants (the “Section 11 Defendants”).

        69.       The Registration Statement for the Business Combination was inaccurate and

misleading, contained untrue statements of material facts, omitted to state other facts necessary

to make the statements made not misleading, and omitted to state material facts required to be

stated therein.

        70.       Clover is the registrant for the Business Combination.             The Section 11

Defendants named herein were responsible for the contents and dissemination of the

Registration Statement.

        71.       As issuer of the shares, Clover is strictly liable to Plaintiffs and the Class for the

misstatements and omissions.

        72.       None of the Section 11 Defendants named herein made a reasonable

investigation or possessed reasonable grounds for the belief that the statements contained in the

Registration Statement were true and without omissions of any material facts and were not

misleading.

        73.       By reasons of the conduct herein alleged, each Section 11 Defendant violated,

and/or controlled a person who violated Section 11 of the Securities Act.

        74.       Plaintiffs acquired Clover shares pursuant and/or traceable to the Registration

Statement for the Business Combination.

        75.       Plaintiffs and the Class have sustained damages. The value of Clover common

stock has declined substantially subsequent to and due to Section 11 Defendants violations.




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                                           COUNT VI
                          Violation of Section 15 of The Securities Act
            Against the Clover Individual Defendants and IPOC Director Defendants

          76.     Plaintiffs repeat and re-allege each and every allegation contained above.

          77.     This count is asserted against the Clover Individual Defendants and IPOC

Director Defendants (the “Section 15 Defendants”) and is based upon Section 15 of the

Securities Act.

          78.     The Section 15 Defendants, by virtue of their offices, directorship and specific

acts were, at the time of the wrongs alleged herein and as set forth herein, controlling persons of

Clover within the meaning of Section 15 of the Securities Act. The Section 15 Defendants had

the power and influence and exercised the same to cause Clover to engage in the acts described

herein.

          79.     The Section 15 Defendants’ positions made them privy to and provided them

with actual knowledge of the material facts concealed from Plaintiffs and the Class at relevant

times.

          80.     By virtue of the conduct alleged herein, the Section 15 Defendants are liable for

the aforesaid wrongful conduct and are liable to Plaintiffs and the Class for damages suffered.



                                      PRAYER FOR RELIEF
          WHEREFORE, plaintiff, on behalf of himself and the Class, prays for judgment and
relief as follows:
          (a)     declaring this action to be a proper class action, designating plaintiff as Lead

Plaintiff and certifying plaintiff as a class representative under Rule 23 of the Federal Rules of

Civil Procedure and designating plaintiff’s counsel as Lead Counsel;




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       (b)     awarding damages in favor of plaintiff and the other Class members against all

defendants, jointly and severally, together with interest thereon;

       (c)     awarding plaintiff and the Class reasonable costs and expenses incurred in this

action, including counsel fees and expert fees; and

       (d)     awarding plaintiff and other members of the Class such other and further relief as

the Court may deem just and proper.

                                  JURY TRIAL DEMANDED

       Plaintiff hereby demands a trial by jury.


Dated: February 5, 2021                               Respectfully submitted,

                                                      s/Paul Kent Bramlett
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